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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                           §
                                                 §
EDUARDO U. EVERETT AND                           §               CASE NO. 19-31634
GLORIA R. EVERETT                                §               CHAPTER 7
                                                 §
         DEBTORS                                 §               CHIEF JUDGE DAVID R. JONES

  TRUSTEE’S MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS AND
  CLAIMS PURSUANT TO 11 U.S.C. § 363(b) and (f) and PAY BROKER COMMISSIONS AT
                                    CLOSING

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
TWENTY-ONE (21) DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable David R. Jones,
Chief United States Bankruptcy Judge:

         COMES NOW Randy W. Williams, Trustee and would show as follows:

                         A. Jurisdiction, Venue and Constitutional Authority

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and/or (N) and arises in and/or under Title 11. The

statutory predicate for the relief sought herein is Federal Rule of Bankruptcy Procedure 9019.

         2.     Venue is proper under 28 U.S.C. §§ 1408 and/or 1409.

         3.     This Court has constitutional authority to enter a final order regarding this matter. This

motion concerns essential bankruptcy matters which have no equivalent in state law thereby rendering the

Supreme Court’s opinion in Stern v. Marshall inapplicable. See In re Carlew, 469 B.R. 666, 672 (Bankr.
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S.D. Tex. 2012) (discussing Stern v. Marshall, 131 S.Ct. 2594 (2011)). In the alternative, all the matters

addressed in this motion are essential bankruptcy matters which trigger the public rights exception. See Id.

                                                B. Background

        4.       On March 27, 2019 (the “Petition Date”), Eduardo and Gloria Everett (the “Debtors”) filed

for voluntary Chapter 7 bankruptcy protection. On the same date, the Trustee was appointed interim

Chapter 7 Trustee and, having since accepted the appointment and posted the requisite bond, became

permanent Trustee.

        5.       On the Petition Date, the Debtors owned the real property and improvements located at

3116 Kenta, Marrero, Louisiana 70072 (the “Property”). The Property is encumbered by a mortgage in

favor of Standard Mortgage Corp, with a balance of approximately $94,022.00 per the Debtor’s Schedules.

        6.       On July 17, 2019, the Trustee filed an application to employ BK Global Real Estate

Services (“Broker”), to assist him with the marketing and sale of the Property [Docket Number 33]. On

August 2, 2019, the Court entered an Order authorizing the Trustee’s employment of Broker [Docket

Number 34], see Exhibit A (the “Employment Order”). A copy of the Court approved listing agreement is

attached as Exhibit B (the “Listing Agreement”).

        7.       Shortly after approval of retention of Broker, the Property was listed for sale for $125,000.

                                               C. Motion to Sell

        8.       The Trustee proposes to sell the Property to Duc Phi (“Buyer”) for the sum of $125,000,

subject to the terms and conditions set forth in the attached Exhibit C (the “Sales Contract”). The offer by

Buyer is a full list price offer and, as such, the Trustee believes it to be for fair and reasonable consideration

and in the best interests of the Estate and its creditors. The Trustee further requests that he be allowed to

pay at closing the outstanding mortgage owed to Standard Mortgage Corp, all outstanding property taxes;

broker commissions (as described below) and all usual and customary closing costs, which include, but are

not limited to, survey costs/reimbursements; escrow fees, title commitment fees, fees for tax

statements/certificates, fees for preparation of a deed, recording fees and delivery/filing charges.
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             9.            Although the Trustee is not aware of any liens against the Property, other than the mortgage

and property taxes, out of an abundance of caution, he requests that the Property be sold free and clear of

liens and claims pursuant to 11 U.S.C. § 363(f), with the same attaching to the proceeds of sale in the same

order, priority and validity that existed on the Petition Date.

             10.           The Trustee further requests authorization to pay Broker the 6% commission provided for

in the Listing Agreement approved by the Employment Order, with that commission being split equally

between Broker and the real estate broker for the Buyer pursuant to the Sales Contract. The Trustee posits

that the commission proposed to be paid is well within the usual and customary range of broker’s

commissions paid on real property sales of the type involved herein. The Trustee requests permission to

pay these amounts at closing of the sale of the Property.

             WHEREFORE based on the foregoing, the Trustee requests all relief sought herein and for such

other and further relief to which he may show himself to be entitled.

                                                                    Respectfully submitted,

                                                                    /s/ Marc Douglas Myers
                                                                    ___________________________
                                                                    Marc Douglas Myers
                                                                    Ross, Banks, May, Cron & Cavin, P.C.
                                                                    SBN 00797133
                                                                    7700 San Felipe, Suite 550
                                                                    Houston, Texas 77063
                                                                    (713) 626-1200; (713) 623-6014 fax
                                                                    mmyers@rossbanks.com
                                                                    COUNSEL FOR THE TRUSTEE

                                               CERTIFICATE OF SERVICE

        I hereby certify that on August 14, 2019, a true and correct copy of the foregoing was sent via
regular US mail to the Debtor(s), counsel for the Debtor(s), the Trustee, counsel for the Trustee, the US
Trustee, all creditors and all persons requesting notice as set forth below unless otherwise served by the
CM-ECF system.

                                                                    /s/ Marc Douglas Myers
                                                                    ___________________________
                                                                    Marc Douglas Myers
Ford Motor Credit Company LLC                    c/o Dominique Varner                         New Residential Mortgage LLC
5120 Woodway, Suite 9000                         Michael Weems                                undeliverable
Houston, TX 77056-1725                           1201 Louisiana, 28th Floor
                                                 Houston, Texas 77002                         PINGORA LOAN SERVICING, LLC
First Community Credit Union                                                                  c/o Dominique Varner
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Michael Weems                              P.O. Box 14548
1201 Louisiana, 28th Floor                 Fort Lauderdale, FL 33302-4548
Houston, Texas 77002
                                           Wells Fargo Bank Na
PRA Receivables Management, LLC            1 Home Campus
P.O. Box 41021                             Mac X2303-01a
Norfolk, VA 23541-1021                     Des Moines IA 50328-0001

Synchrony Bank                             Woodlands Specialty Hospital
c/o PRA Receivables Management, LLC        P.O. Box 17009J
P.O. Box 41021                             Belfast, ME 04915-4033
Norfolk, VA 23541
                                           Eduardo U. Everett
AMEX                                       21735 Colter Stone Dr.
Correspondence/Bankruptcy                  Spring, TX 77388-6905
P.O. Box 981540
El Paso, TX 79998-1540                     Gloria R. Everett
                                           21735 Colter Stone Dr.
Cenlar                                     Spring, TX 77388-6905
P.O. Box 77404
Ewing, NJ 08628-6404                       Randy W Williams
                                           7924 Broadway, Suite 104
Chase Card Services                        Pearland, TX 77581-7933
Attn: Bankruptcy
P.O. Box 15298                             Yvette V Recio
Wilmington, DE 19850-5298                  26310 Oak Ridge Dr., Suite #4
                                           The Woodlands, TX 77380-3777
Citicards Cbna
Citi Bank
P.O. Box 6077
Sioux Falls, SD 57117-6077

Client Services/Synchrony Home Design
3451 Harry S. Truman Blvd.
Saint Charles, MO 63301-4047

Eduardo A. Everett
21735 Colter Stone Dr.
Spring, Texas 77388-6905

First Community CU
Attn: Bankruptcy
15260 Farm to Market Rd 529
Houston, TX 77095

Internal Revenue Service
Centralized Insolvency Operations
P.O. Box 7346
Philadelphia PA 19101-7346

LVNV Funding, LLC
Resurgent Capital Services
P.O. Box 10587
Greenville, SC 29603-0587

Lincoln Automotive Financial Service
Attn: Bankruptcy
P.O. Box 542000
Omaha, NE 68154-8000

Martine and Sidney Wicks
3116 Kenta Dr.
Marrero, LA 70072-5914

Rausch,Sturm, Israel, Enerson &Hornik, L
15660 N. Dallas Parkway, Suite 350
Dallas, Texas 75248-3344

Re Max Real Estate Partners, Inc.
4041 Veteran's Blvd. Suite 100
Metairie, LA 70002

Sandy Leisure Trust I
P.O. Box 96058
Las Vegas, NV 89193-6058

Standard Mortgage Corp
701 Poydras St Ste 300
New Orleans, LA 70139-0096

Syncb/Home Design
Attn: Bankruptcy
P.O. Box 965060
Orlando, FL 32896-5060

US Trustee
Office of the US Trustee
515 Rusk Ave
Ste 3516
Houston, TX 77002-2604

We Florida Financial
Attn: Bankruptcy
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                  ENTERED
                                                                                                      08/02/2019
IN RE:                                            §
                                                  §
EDUARDO EVERETT AND GLORIA                        §                CASE NO. 19-31634
EVERETT                                           §                CHAPTER 7
                                                  §
         DEBTOR                                   §                JUDGE DAVID R. JONES

  ORDER GRANTING TRUSTEE'S APPLICATION TO EMPLOY REAL ESTATE BROKER

                                             (Docket # _____)
                                                        

         CAME ON for consideration the Trustee’s Application to Employ Real Estate Broker

(“Application”) and the Court being of the opinion that it should be granted, it is therefore:

         ORDERED that the Trustee is authorized to employ BK Global Real Estate Services, with Patrick

Butler as broker-in-charge, to assist in the sale of the real property referenced in the Application on the

terms and conditions stated in the listing agreement attached to the Application, which is approved; and it

is further;

          ORDERED that the Trustee is hereby authorized to execute any and all documents necessary to

consummate the above transaction.

ZZZZ
   Signed: August 01, 2019

                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE
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                            BKGlobalRealEstateBrokerageListingAgreement


        This Real Estate Brokerage Listing Agreement (“Agreement”) is between Randy Williams

(“TRUSTEE”)andBKGlobalRealEstateServicesLLC(“BROKER”)


        AuthoritytoSellProperty:TrusteegivesBrokertherighttobetheEXCLUSIVEBROKERinthesale

oftherealandpersonalproperty(collectively“Property”)describedbelow:


                 3116KENTADRMARRERO,LA70072


        UponfullexecutionofacontractforsaleandpurchaseofthePropertyandcourtapproval,all

rightsandobligationsofthisAgreementwillautomaticallyextendthroughthedateoftheactualclosing

ofthesalescontract.TrusteeandBrokeracknowledgethatthisAgreementdoesnotguaranteeasale.

ThisPropertywillbeofferedtoanypersonwithoutregardtorace,color,religion,sex,handicap,familial

status,nationalorigin,oranyotherfactorprotectedbyfederal,state,orlocallaw.Trusteecertifiesand

representsthatshe/he/itislegallyentitledtoconveythePropertyandallimprovements.


        Price:Thestartinglistingpriceofthepropertywillbe:$125,000.Iftherearenoacceptableoffers

after15days,thelistpricewillbereduced5%andwillreoccurevery15daysuntilthelistingexpiresorif

anacceptableofferisreceived.


        BrokersObligations:BrokerwillassisttheTrusteetomakecommerciallyreasonableeffortsto

procuretheconsentandagreementoftheseniormortgagee(“SecuredCreditor”),ifnecessaryduetoa

shortsaleorinsufficiencyofthenetproceedsofsale,to:


procureapurchaserfortheRealPropertywiththebestqualifiedofferduringapublicsale.

    a) ReleaseitslienwithrespecttotheProperty;and

    b) Agreetoa11U.S.C.§506surchargeto(x)payourfeeandexpenses,anycommissionpayableto
       the local real estate broker and all other fees and expenses associated with the sale, and
       (y)provideacarveͲoutforthebenefitofallowedunsecuredcreditorsoftheestate.
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BrokersDuties:Brokerdutieswillincludebutwillnotbelimitedtothefollowingservices;


    x   Researchingtherealestate,runningtitleandliensearchestoidentify creditorsforresolutionand
        anytitleissues.
    x   Advisingthetrusteeofanyissuesanddiscusspotentialresolutions.
    x   Conductingtheresolutionsunderthetrustee’sdirection.
    x   Assistingthetrusteeinthecollectionofdocumentsandinformationforemployment.
    x   Makingandidentifyingthecorrectcontactwithanysecuredcreditorswhereapplicable.
    x   Notifyingthesecuredcreditoroftheupcomingsaleandidentifyingservicerrequirements.
    x   Assistingthetrusteeinestablishingmarketvalueandnegotiatingwiththe Serviceranacceptable
        salespriceandestablishingacarveͲout,ifnecessary.
    x   Developmentofonlinemarketing,emailcampaignandfullnationwidemarketingservices.
    x   Conductinganonlinesale.
    x   UseoftheBKGlobaltechnologyplatform.
    x   Assistthetrusteeinthereviewofalloffersandcoordinatethefinal documentationoftheoffer
        acceptedbythetrustee.
    x   Managingcontractrequirementssuchasinspections,appraisalsandHOAapplications.
    x   Coordinatingclosingsandassistingthetrusteeinthecollectionofrequired information for court
        filing.
    x   Closingthetransactionandensuretheestatehasreceivedtheappropriatefunds.

    LocalListingBrokersObligations:BrokerwillselectaLocalListingBrokertocoͲlistthepropertyand

provide limited services. Trustee will retain both Broker and the Local Listing Broker to market the

Propertyforsaletothepublicunderaseparatelistingagreement.


    LocalListingBrokersDuties:LocalListingBrokersdutieswillincludebutwillnotbelimitedtothe

followingservices;


    x   Inspectingthepropertyandcompletingabroker’spriceopinion.
    x   Listingthepropertyinthemultiplelistingservice(MLS).
    x   Postingaforsalesignintheyardandcoordinatingshowings.

    TrusteeObligations:InconsiderationofBroker’sobligations,Trusteeagreesto:


    a) CooperatewithBrokerincarryingoutthepurposeofthisAgreement
    b) AssisttheBrokerasneededinobtainingthekeystothePropertyandmakethePropertyavailable
       forBrokertoshowduringreasonabletimes.
    c) Fileallcourtmotionsanddocumentsinatimelymannertoensureasuccessfulsale.
    d) AdviseBrokerofanyspecialissuesourcourtrequirements.
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    Compensation:6%RealEstateCommissionwillbepaidoutoftheproceedsoffthesaleandisdue

andpaidatclosing.ThecommissionwillcoverthecostsoftheBroker,LocalListingBrokerandBuyers

Broker.Thecommissionwillbepaidasfollows:


    x   2%Broker
    x   2%LocalListingBroker
    x   2%BuyersBroker
    TermofAgreement:ThetermofthisAgreementwillcommencewhensignedbytheTrusteeandthe

court approves it.  This Agreement will automatically terminate upon the closing of the sale of the

Property, or it may be terminated by either party for any or no reason after 180 days from

commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No

Distribution,filesaNoticeofAbandonmentofthesubjectproperty,orsubmitsaTrustee’sFinalReportto

theOfficeoftheUnitedStatesTrustee.


        Broker acknowledges and agrees that (a)the Trustee is not executing this Agreement in an

individualcapacity,butsolelyastrusteeoftheestate,(b)Brokerdoesnotandwillnothaveanyrightor

claimwithrespecttotheestateand(c)Brokerssolerecourseforpaymentofrealestatecommission,fees

andexpenseswillbepaidatclosingwithcourtapproval.


        This Agreement constitutes our complete agreement on this matter and supersedes all prior

agreementsandrepresentationsconcerningthesame.Itmaynotbemodifiedoramendedexceptina

writingsignedbybothparties.


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